
— In a small claims proceeding pursuant to RPTL article 7 and CPLR article 78 to review the assessments of the petitioners’ real property for tax year 2005/2006, the Board of Assessors and Board of Assessment Review of County of Nassau appeal from a judgment of the Supreme Court, Nassau County (LaMarca, J.), entered June 15, 2007, which granted the petition, annulled 16 determinations of a Small Claims Tax Assessment Hearing Officer, each dated February 2, 2007, denying the petitioners’ applications for small claims assessment review, and remitted the matters to the Small Claims Tax Assessment Hearing Officer for a hearing, a de novo review of the applications, and new determinations thereafter.
Ordered that the judgment is affirmed, with costs.
The Supreme Court properly annulled the challenged determinations, and remitted the matter at issue to the Small Claims Tax Assessment Hearing Officer for a hearing, a de novo consideration of the merits of the petitioners’ applications, and new determinations thereafter (see Matter of Sivin v Board of Assessors, 57 AD3d 115 [2008] [decided herewith]). Lifson, J.P., Florio, Eng and Belen, JJ., concur.
